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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

UNITED STATES OF AMERICA,             )
                                      )
      v.                              )     CRIMINAL CASE NO.
                                      )     1:18-CR-309-LMM-LTW-1
CHALMER DETLING, II                   )

             ORDER ALLOWING AUDIO/VISUAL EQUIPMENT
                       IN THE COURTROOM

      Pursuant to Local Rule 83.4(A) for the Northern District of Georgia, it is

hereby ORDERED that the Defendant, Chalmer Detling, II, be allowed to bring

computer equipment and a cell phone to Courtroom 2107 on the 21st Floor of the

United States Courthouse to assist with trial beginning on October 25, 2021.

      This Order shall be effective until the completion of proceedings.



                       22nd day of October, 2021.
      SO ORDERED this ______


                                      _____________________________
                                      HON. LEIGH MARTIN MAY
                                      UNITED STATES DISTRICT JUDGE
